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              Exhibit A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
AMERICAN MASSAGE THERAPY                              )
ASSOCIATION, 500 Davis Street, Suite 900,             )
Evanston, IL 60201                                    )
                                                      )
                      Plaintiffs,                     )
                                                 )
                                                   Case Number: 1:24-cv-01670-RJL
       V.                                        )
                                                 )
U.S. DEPARTMENT OF EDUCATION and                 )
MIGUEL CARDONA, in his official capacity as )
Secretary, 400 Maryland Avenue, S.W. Washington, )
D.C.20202                                        )
                                                 )
                     Defendants.                 )
______________ ___ )
 CORRECTED DECLARATION OF MIKE WILLIAMS OF CENTER FOR MASSAGE
    & NATURAL HEALTH IN SUPPORT OF PLAINTIFF'S MOTION FOR A
                   PRELIMINARY INJUNCTION

       I, Mike Williams, declare as follows:
       1.      1 am over the age of 18 years and I am competent to make this declaration. I have

personal knowledge of the facts set forth herein, except for those facts stated on information and

belief and, as to those facts, I am informed and believe them to be true. If called as a witness, I

could and would testify as to the matters set forth below based upon my personal knowledge.
       2.      I am the President of the Center for Massage & Natural Health ("the Center") in

Asheville, North Carolina. My wife and I have been operating the Center, a small family business,

since 2015, and have owned it since 2017.
       3.      The Center was founded 25 years ago and is a private, accredited college teaching

massage therapy. The Center's massage therapy certificate program is currently 654 hours and

takes six months to complete. Approximately 60-65 students graduate from the program each

year. The Center' s completion rates are consistently in the range of 88-94 percent.
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            4.    The Center' s massage therapy program has been accredited by the Commission
                                                                                                      on
  Massage Therapy Accreditation (COMTA) since 2007. COMTA is the only
                                                                      accreditor fully
 dedicated to massage therapy and esthetics, and has been recognized by the U.S.
                                                                                      Department of
 Education (" Department") as a specialized accrediting agency since 2002. COMT
                                                                                      A accreditation
 reflects the needs of the profession nationwide.

         5.       The Center was the first massage therapy school to receive approval from
                                                                                                     the
 North Carolina State Board of Massage & Bodywork Therapy ("State Board"
                                                                                   ) in 2000 and has
 maintained that approval to the present. Any substantive changes to the Center
                                                                                   's program would
 need to be approved by both COMTA and the State Board.

        6.       The Center 's massage therapy students are 75 percent female and 25 percent male.
 The majority are between the ages of 27 and 35, and most of them had some
                                                                                   work experience
 before enrolling in massage school. Many of our students also attained college
                                                                                     degree s before
 enrolling in our program.

        7.       Currently, the majority of our graduates practice in the state of North Carolina
                                                                                                    but
each year we enroll approximately 10- 15 students from neighboring states
                                                                                     within driving
distance, such as South Carolina, Georgia, Tennessee and Virginia. Since South
                                                                                   Carolina is about
40 minutes from our school, we plan to grow our enrollment to include more
                                                                                    South Carolina
residents and students who plan to practice there. The Center is a very popula
                                                                                  r and well-known
program in the area and we have students who drive two hours each way to attend,
                                                                                       so we expect
more South Carolina residents to enroll in our school in the future.

       8.        The Center has participated in Title JV federal student aid funding through
                                                                                                    the
Department since 2009. Our school is located in the Appalachian Mountains,
                                                                                  which has a high
percentage of residents who are economically disadvantaged. Sixty-six percen
                                                                             t of the Center 's
students use federal funding to pay for their education, with approximately 39
                                                                                   percen t of them
using both Pell Grants and federal student loans.       It is my understanding that pursuant to
Department regulations, Pell Grants are only available to students in gainful
                                                                                      employment
programs ("GE Programs") that are 600 clock hours or more.


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           9.       The total cost for the Center's massage therapy program is $9,695, which is one of

the lower-priced massage therapy programs in the United States. The Center also provides

graduates with a massage table at graduation, as well as access to an online MBLEx test preparation

program. We also offer a modest academic scholarship for students with a 3.5 or higher high school

GPA or a bachelor' s degree, which constitutes about 30 percent of our students.

           10.      Currently, in order to become licensed as a massage therapist in the State of North

Carolina, applicants must complete at least 500 hours of supervised classroom instruction from a

State Board approved school, and pass one of two licensing exams.
           11.      The most widely used massage therapy licensing exam nationwide is the Massage

and Bodywork Licensing Exam, known as the "MBLEx," which is offered by the Federation of

State Massage Therapy Boards (FSMTB). For the past five years, approximately 90 percent of

the Center's graduates pass the MBLEx on their first attempt. The national average pass rate is

72 percent. The FSMTB in recent years has suggested that massage therapy schools provide a

curriculum of between 625-650 hours to ensure optimal MBLEx passage rates based on study

results.
           12.      Our massage therapy programs have a job placement rate of 75-80 percent within

six months of graduation. The Center's graduates are sought after by local employers, which

include several highly regarded destination resort spas in the Asheville area. The Center's

graduates who work at local resort spas can earn between $60,000 and $80,000 annually, plus

tips, and those who work for franchise day spas such as Massage Envy can earn $45,000 to

$55,000 per year, plus tips, in an entry-level position.
           13.      In designing its massage therapy curriculum, since 2009 the Center has relied upon

the Department' s "150 Percent Rule," which states that in order to qualify for federal student aid

funding, the duration of GE Programs can be as long as 150 percent of the minimum clock hours or

credit hours required for licensure in the state in which the school is located or the minimum hours

of an adjacent state. Since North Carolina has a 500-hour minimum for massage therapy licensure,

the Center' s program of 654 hours falls well within the parameters of the 150 Percent Rule.


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         14.     I understand that the Department recently modified the 150 Percent Rule and a
 new rule will go into effect on July 1, 2024 ("the Final Rule"). The Final Rule will now require

 our massage therapy program to be limited to the North Carolina state minimum of 500 clock

 hours, unless we could demonstrate that a majority of our graduates plan to work in another state

 that has a higher minimum number of clock hours for massage licensure. As stated previously,

 we do have a base of students from South Carolina and we planned to expand our enrollments to

 include more students from South Carolina, which has a state minimum of 650 hours as of May

26, 2024. However, the Center has not been surveying its enrollees to gauge where they intend

to practice upon graduation, or our graduates to determine where they are currently practicing, so

it would not be feasible to compile written data to satisfy this exception.

         15.     If the Final Rule goes into effect, it will have a devastating impact on the Center.

First, we would need to reduce the hours of our program to 500, which would exclude Pell Grant

recipients from funding their massage therapy education with grants. In my experience , Pell

Grant recipients truly need grants to attend school because they come from disadvantaged

backgrounds, and the Pell Grant typically covers more than half of the cost of tuition. This

reduces the overall amount these students need to borrow in federal loans. If our program were

no longer eligible for Pell Grants, many of the students who would otherwise qualify for Pell

Grants will not be able to afford to attend our school. We estimate a 44 percent reduction in

enrollment as a direct result of the loss of Pell Grant eligibility. This reduction in enrollment

would result in a revenue loss of at least 36 percent, or more than $234,000 in revenue per year

out of an average $660,000 in revenue for the past five years. This revenue loss was calculated

based on the combined institutional school fees as well as the loss in student clinic revenue due

to lower student enrollment and a loss of funding.

        16.     A 36 percent drop in revenue would be catastrophic to any small business,
particularly a small school like the Center with a requirement to have a physical facility and

related fixed costs. If the Final Rule goes into effect, it will likely force us to do extensive layoffs,

reduce faculty, and substantially downsize overhead. Particularly concerning is the impact and


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nature of our long-term lease expense that cannot easily be reduced or renegotiated with such

limited notice, leaving the institution with nearly impossible choices should the Final Rule be

implemented on July l , 2024.
        I 7.    We would likely have to stop providing our graduates with a massage table and

access to the MBLEx test preparation program, which would cause our graduates to spend their

own money to purchase a table for use in their practice and could negatively impact their MBLEx

passage rates. If the Center is forced to reduce its program to 500 hours to maintain eligibility for

federal funding, it would no longer be able to attract students from other states with higher hours

requirements such as South Carolina. Ultimately, the impact of the Final Rule could result in the

school closing altogether.
        18.     Moreover, a reduction in curriculum hours will prevent us from adequately

preparing our students to pass the MBLEx and be in demand by employers. Indeed, studies

conducted by the Federation of State Massage Therapy Boards (FSMTB) demonstrate that

graduates of massage therapy programs with 600-650 hours have a higher MBLEx pass rate than

graduates of schools with only 500 hours of training.
        19.     If we are forced to reduce our curriculum to 500 hours, we would have to cut our

bodywork curriculum by 30 percent; our anatomy and body systems curriculum by 25 percent;

and our professional ethics, business and laws curriculum by 25 percent. The 30 percent reduction

in bodywork hours will provide our graduates with fewer skills, which will result in lower job

placement rates. In my professional experience, the 25 percent reduction in anatomy and body

systems will result in lower MBLEx passage rates, which necessarily reduces job placement rates

because passing the exam is a prerequisite to licensure. The 25 percent reduction in professional

ethics, business and laws curriculum will result in our graduates having less professional

knowledge that is necessary for practicing massage therapy and running a massage business.

Since the Center must also meet the state' s specific massage therapy curriculum requirements

there is little, if any, flexibility in adjusting the curriculum.
        20.     Notwithstanding the loss of medical science education, there is also a distinct


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 connection between learning the anatomy and actual "hands-on" learning in bodywork

 classes. This reduces the ability to commit knowledge and skills to long-term memory when the

 students practice on each other in the classroom with instructional supervision. Beyond the

 classroom, there will also be a loss of basic skills and readiness to conduct a "hiring practical"

 massage, which employers require before hiring a massage therapist.

        21.     Overall, I would not be surprised to see a 10-15 percent drop in the MBLEx

passing rate as well as a drop in initial hiring due to the need for our graduates to be more

skilled. This is a key reason that simply lowering program hours will negatively impact student

outcome measures and will actually produce unintended consequences that fly in the face of the

gainful employment rules ' mission. In summary, prospective students and graduates of our

program will pay the ultimate price since many will be foreclosed from pursuing a career in

massage therapy, and those who complete a shortened program will be less prepared to pass the
licensing exam and less desirable job candidates.

        22.    If the Center were forced to close its doors, it would have a fundamental impact

on the Asheville community. The local destination resort spas rely on our graduates for staffing,

and our local residents rely on our student clinic for affordable natural bodywork. Approximately

3,000 local residents receive massages in our clinic each year, which cost only $39 for one hour.

Many of these customers have told me that the massage they received from one of our students

was better than a $230 massage they received at one of the nearby resort spas. We anticipate

losing about 1,250 of these clinical events annually if the Final Rule is implemented. This will

impact our vendor suppliers and our community, who rely on our clinic to provide affordable
natural bodywork care.

       23.     Since I learned about the Final Rule, I have been in touch with the State Board

about increasing the state' s minimum clock hours for massage therapy licensing. At its meeting

on February 15, 2024, the State Board voted to support an increase to 650 hours, but the state

legislature must implement any such change. In addition, the State Board has not yet published

any new curriculum standards based on a 650-hour minimum. Annexed hereto as Exhibit A is a


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true and accurate copy of a letter dated April 23, 2024 from the State Board' s Legal Counsel,

Charles Wilkins, which discusses the status of the State Board's request and how the Final Rule

will affect all massage schools in North Carolina.

       24.      I understand that it could take 8-12 months for any increase in the minimum clock

hours for licensure to pass through the North Carolina legislature. In the meantime, if the Final

Rule goes into effect, the Center would have to immediately modify its curriculum to meet the state

minimum of 500 hours. This would require approval by our accreditor, COMTA, and the State

Board, which will take several months. Given the short time period before the Final Rule goes into

effect, we will not receive approval before the effective date. If the state legislature later increased

the state minimum to 650 hours, the Center would have to modify its curriculum again to increase

the hours to 650, which would also require approval from COMTA and the State Board.

        25.     On April 26, 2024, I sent a memorandum to the Department explaining the

challenges presented by the Final Rule, and requested relief from future enforcement while the

North Carolina legislature and the State Board implemented the changes discussed above. A true

and accurate copy of that memorandum is annexed hereto as Exhibit B. I received an email

response from the Department on April 30, 2024, thanking me for the information and informing

me that the Department would provide a follow up if necessary as soon as possible. A true and

accurate copy of that email is annexed hereto as Exhibit C. I have not heard anything from the

Department since, and I have received no assurances that it will provide the Center with any relief

from enforcement after July 1, 2024.

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        26.    In summary, if the Final Rule goes into effect on July 1, 2024, the Center will not

be able to comply in time due to circumstances beyond its control, and students who rely on Pell

Grants will be prevented from pursuing a career in massage and bodywork. Ultimately, the Center

may be forced to close its doors as a result of the Final Rule.


       I declare under penalty of perjury that the foregoing is true and correct. Executed this

I 0th day of June, 2024, in Asheville, North Carolina.




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